                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                              CASE NO. 3:23-CV-00405-FDW-DCK

 HULL LOGISTICS, LLC                                       )
 JONATHAN HULL,                                            )
                                                           )
                     Plaintiffs,                           )
                                                           )
        v.                                                 )                     ORDER
                                                           )
 WERNER ENTERPRISES, INC.                                  )
 ECM TRANSPORT, LLC                                        )
 ROY LAUMONT PAPE SR.,                                     )
                                                           )
                     Defendants.                           )
                                                           )

             THIS MATTER is before the Court sua sponte as to the status of this case. At Docket Call

on September 9, 2024, this Court continued this matter and offered counsel a peremptory trial

setting to be determined at a later date. Mindful of the need for finality and judicial efficiency, the

Court will set trial in this matter for December 9, 2024. All parties shall make the necessary

arrangements to proceed to trial including ensuring the availability of counsel and witnesses, either

through live testimony or de ben esse deposition. Docket Call and a pretrial conference shall take

place at 9:01 a.m. on December 9, 2024, in Courtroom #5B, Charles R. Jonas Federal Building,

401 West Trade Street, Charlotte, NC, with jury selection to begin immediately following Docket

Call.

             In preparation for an anticipated September 2024 trial date, the parties have already

submitted pretrial filings. In the event the parties can resolve any evidentiary or other disputes

raised in their pretrial filings before the new trial date, the Court directs the parties to confer, revise

their jointly prepared proposed pretrial order, and submit a supplemental version no later than

November 27, 2024, or otherwise inform the Court that the parties do not have any changes. The


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supplemental filing shall include the parties’ estimate of time for trial. The parties are directed to

file updated witness and exhibit lists no later than December 6, 2024.

        IT IS THEREFORE ORDERED that this matter is continued from the Court’s

November 4, 2024, trial setting to a peremptory setting of December 9, 2024, with Docket Call to

take place at 9:01 a.m. on December 9, 2024, in Courtroom #5B of the Charles R. Jonas Federal

Building.

        IT IS FURTHER ORDERED that a supplemental jointly proposed pretrial order is due

by November 27, 2024, and updated witness and exhibit lists shall be filed by December 6, 2024.

        IT IS FURTHER ORDERED that the parties’ respective motions to present testimony

via de ben esse deposition, (Doc. Nos. 34, 37), are DENIED as MOOT without prejudice to refiling

consistent with the Court’s Case Management Order and including information specific to the new

trial date.

        IT IS SO ORDERED.
                                          Signed: October 8, 2024




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